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                                      BROOKLYN OFFICE
                                                                                  FL Jurat Notary Certificate



Document Name:             /mri Poc

STATE OF FLORIDA
COUNTY OF
            (County where notarization occurred)

Sworn to (or
           •r affirmed)
              affirr    and subscribed by personally appearing before me by physical presence this.
day of                      20 27 .by                    fa//iw<i 1an\f               (name of signer(s)).


                              adameckman                                            (Signature of notary public)
                           Commission# HH 336962
                          ly comm.expires Nov.30,2026
                                                                                       (Name of notary public)

                                                                  My commission expires: HoM.70.2eZi
Official Seal


Personally known            OR                                               ^
Produced identification    X Type of identification produced: )X




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